     Case: 1:17-cv-05672 Document #: 82 Filed: 02/15/19 Page 1 of 3 PageID #:970



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

TANIKA BEAULIEU,

                      Plaintiff,                           No. 17-cv-05672

         v.                                                Honorable Judge Rebecca R. Pallmeyer

NEWQUEST MANAGEMENT OF
ILLINOIS, LLC,

                      Defendant.


                  DEFENDANT NEWQUEST MANAGEMENT OF
       ILLINOIS, LLC’S RESPONSE TO PLAINTIFF’S STATEMENT OF FACTS
     IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Defendant NEWQUEST MANAGEMENT OF ILLINOIS, LLC (“NewQuest”), by and through

its attorneys, LITTLER MENDELSON, P.C., and pursuant to Local Rule 56.1(a), hereby responds to

Plaintiff Tanika Beaulieu’s (“Beaulieu”) Statement of Facts in Opposition to Defendant’s Motion

for Summary Judgment” (“Additional Facts”) [ECF No. 78]. As explained further below, none

of Beaulieu’s Additional Facts merit the denial of summary judgment in this matter.

         NewQuest disputes all of Beaulieu’s Additional Facts for the following reasons 1:

              1. Nine of Beaulieu’s Additional Facts (Facts 11-13, 29, 31-35 2 ) consist of her

                  opinion about various incidents that occurred during her employment, or

                  Beaulieu’s argument that she perceived an incident to be discriminatory.

              2. Twenty of the Additional Facts are unsupported by the cited materials (Facts 1-8,

1
  See Fed. R. Civ. P. 56(c)(1)(B) advisory committee’s note (2010) (“Subdivision (c)(1)(B) recognizes that a party
need not always point to specific record materials. One party, without citing any other materials, may respond or
reply that materials cited to dispute or support a fact do not establish the absence or presence of a genuine dispute.
And a party who does not have the trial burden of production may rely on a showing that a party who does have the
trial burden cannot produce admissible evidence to carry its burden as to the fact.”).
2
  Beaulieu misnumbers Additional Facts 33-35 as 31-33. [See ECF No. 78 at 6.] For purposes of clarity, NewQuest
refers to these Facts as Facts 33-35.
    Case: 1:17-cv-05672 Document #: 82 Filed: 02/15/19 Page 2 of 3 PageID #:971



              10-11, 14-15, 20, 22, 25, 28, 30-33), and/or fail to cite to the record at all (Facts 9,

              35).

              Notably, Fact No. 7, in which Beaulieu describes being “physically assault[ed]”

              and spat on by Juan Salas is unsupported by the record evidence. Beaulieu

              contends: “During these meeting [sic] Juan Salas would violate me by unwantedly

              touching me. Physically assault me by spitting on me and belittle and scorn me

              for no reason.” (Fact 7). However, Beaulieu testified in her deposition that Salas

              sat next to her during coaching sessions, and as a result, the saliva from his mouth

              hit her when he spoke.        (Beaulieu Dep. at 16:6-22, 62:18-23).         Moreover,

              Beaulieu at no point testified that Salas “belittled and scorned” her during these

              meetings; instead, she testified that by sitting next to her, suggesting that she

              needed additional training and identifying ways she could improve, Salas made

              her feel attacked and violated. (Beaulieu Dep. at 62:24-63:23, 73:2-74:17).

          3. The remainder of the Additional Facts (Facts 16-27) merely recite or summarize

              portions of exhibits that Beaulieu submitted with her response brief, which bear

              no relevance to her claims.

       For these reasons, NewQuest disputes each of Beaulieu’s Additional Facts.

Dated: February 15, 2019                             Respectfully submitted,

                                                     NEWQUEST MANAGEMENT OF
                                                     ILLINOIS, LLC

Kwabena A. Appenteng                                   /s/ Keemya Maghsoudi
Keemya Maghsoudi                                                 One of its attorneys
LITTLER MENDELSON, P.C.
321 North Clark Street, Suite 1000
Chicago, IL 60654
312.372.5520



                                               -2-
     Case: 1:17-cv-05672 Document #: 82 Filed: 02/15/19 Page 3 of 3 PageID #:972



                                   CERTIFICATE OF SERVICE

        Keemya Maghsoudi, an attorney, hereby certifies that on February 15, 2019, she caused a

copy of the foregoing Defendant NewQuest Management of Illinois, LLC’s Response to

Plaintiff’s Statement of Facts In Opposition to Defendant’s Motion for Summary Judgment to

be electronically filed with the Clerk of the U.S. District Court, Northern District of Illinois,

using the CM/ECF (electronic case filing) system, which sent notification via electronic mail of

such filing to the following ECF participant:

                                     Tanika Beaulieu
                                     tross@student.kcc.edu


                                                               /s/ Keemya Maghsoudi
                                                One of the Attorneys for NewQuest Management
                                                               of Illinois, LLC




FIRMWIDE:162268198.7 072174.1011




                                                 -3-
